                                         IN THE UNITED STATES DISTRICT COURT
                                    EASTERN DISTRICT OF TENNESSEE AT GREENEVILLE

                                      CRIMINAL MINUTES: Plea to Information/Sentencing

USA vs              MATTHEW DYLAN NORRIS                                                  DATE         11/20/2020

Case No.   2:20-CR-81               Time 11:02               To      11:57
=======================================================================
                    Honorable Clifton L. Corker, U. S. District Judge, Presiding

  KIM OTTINGER             LISA WEBB                 THOMAS MCCAULEY
  Deputy Clerk             Court Reporter            Asst. U.S. Attorney
========================================================================
     DEFENDANT(s)                               DEFENSE ATTORNEY(s)
     MATTHEW DYLAN NORRIS                          GENE G. SCOTT, JR.

PROCEEDINGS: Plea to Information

Defendant(s) Sworn
Court questions defendant(s) regarding physical/mental conditions and advises defendant of nature and possible consequences of plea
Information filed on 11/06/20 [Doc. 1] - Information/reading waived
Motion to enter plea to information - Plea Agreement filed on 11/20/20 [Doc.15]
Plea of Guilty to Count(s) 1 ✓ Accepted

PROCEEDINGS: Sentencing

Sealed portion of hearing: 11:24-11:31

Deft given opportunity to speak - accepts
Court Pronounces Judgment

It is the judgment of the Court as to Count One of the Information, that the defendant, Matthew Dylan Norris, is hereby committed to the custody of
the Bureau of Prisons to be imprisoned for a term of 51 months. This sentence shall run concurrently with any sentence that may be imposed in
Washington County General Sessions Court Docket Number 127457. In addition, this sentence shall be served consecutively to any sentence that
may be imposed for the violations of probation in Carter County, Tennessee and Washington County, Tennessee.

Upon release from imprisonment, the defendant shall be placed on supervised release for a term of three (3) years.

$100.00 Assessment Fine is waived

All remaining counts as to this defendant in case 2:17-CR-118 are dismissed on the motion of the United States.

CONDITIONS OF SUPERVISED RELEASE:

[X] 13 standard conditions [X] no firearms, no ammunition, no destructive devices, or any other dangerous weapon
[X] no illegal drugs           [X] cooperate w/the collection of DNA as directed
[X] participate in a drug and/or alcohol abuse treatment program as directed by USPO
[X] participate in a mental health program as directed by USPO
[X] You shall submit your person, property, house, residence, vehicle, papers, [computers (as defined in 18 U.S.C. § 1030(e)(1)), other electronic
communications or data storage devices or media,] or office, to a search conducted by a United States probation officer or designee.

RECOMMENDATIONS:
[X] 500 hours of substance abuse treatment from the Bureau of Prisons’ Institution Residential Drug Abuse Treatment
Program/receive a mental health evaluation, and any needed treatment, while in the custody of the Bureau of Prisons/be
afforded a full range of educational and vocational programs offered by the Bureau of Prisons/designation to the federal
facility at Coleman, FL.

Defendant remanded to custody of U.S. Marshal                      Judgment to enter

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